
666 S.E.2d 764 (2008)
STATE of North Carolina
v.
Jose Ivan Bracamontes CRUZ.
No. 47P07-2.
Supreme Court of North Carolina.
August 26, 2008.
Jose Ivan B. Cruz, Pro Se.
Harriet F. Worley, Assistant Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 17th day of April 2008 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
HUDSON, J., recused.
